27 F.3d 562
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Richard Allen BOOTHE, Plaintiff-Appellant,v.C. E. THOMPSON, Defendant-Appellee.
    No. 94-6165.
    United States Court of Appeals, Fourth Circuit.
    Submitted May 24, 1994.Decided June 17, 1994.
    
      Richard Allen Boothe, Appellant Pro Se.
      E.D.Va.
      DISMISSED.
      Before WIDENER, WILKINSON and NIEMEYER, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals the district court's order dismissing his 42 U.S.C. Sec. 1983 (1988) complaint.  The district court assessed a filing fee in accordance with  Evans v. Croom, 650 F.2d 521 (4th Cir.1981), cert. denied, 454 U.S. 1153 (1982), and dismissed the case without prejudice when Appellant failed to comply with the fee order.  Finding no abuse of discretion, we deny leave to proceed in forma pauperis and dismiss the appeal.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    